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   6                                UNITED STATES DISTRICT COURT
   7                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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   9 GABRIELA SOLANO, on behalf of                Case No. 2:21-cv-01576-AB (KSx)
       herself and those similarly situated,
  10                                              [PROPOSED] ORDER GRANTING
                       Plaintiff,                 JOINT STIPULATION FOR
  11                                              EXTENSION OF TIME TO MOVE
                vs.                               TO RE-OPEN ACTION AND TO
  12                                              FILE MOTION FOR ATTORNEY’S
       U.S. IMMIGRATION AND                       FEES
  13 CUSTOMS ENFORCEMENT; TAE D.
       JOHNSON, Acting Director of U.S.
  14 Immigration and Customs Enforcement;
       THOMAS P. GILES, Director of Los
  15 Angeles Field Office, U.S. Immigration
       and Customs Enforcement; DAVID
  16 JENNINGS, Director of San Francisco
       Field Office, U.S. Immigration and
  17 Customs Enforcement,

  18                   Defendants.
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   1            Based upon the parties’ Joint Stipulation for Extension of Time to Move to
   2 Re-Open Action and to File Motion for Attorney’s Fees, and with good cause

   3 appearing, the Court hereby grants the parties an extension of time until May 25,

   4 2022, to move to re-open the action upon good cause shown if the settlement is not

   5 consummated, and grants Plaintiff an extension of time until May 25, 2022, to file a

   6 motion for attorney’s fees, expenses, and costs pursuant to the Equal Access to

   7 Justice Act (“EAJA”), 28 U.S.C. § 2412.

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   9 DATED: ________________, 2022

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                                                HON. ANDRÉ BIROTTE, JR.

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